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                                                                                 2019 Jan-14 PM 02:42
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                             MIDDLE DIVISION

VENTURE HARRISON,                       )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )       Case No: 4:16-cv-01904-MHH-JHE
                                        )
ALABAMA DEPARTMENT OF                   )
CORRECTIONS,                            )
                                        )
      Defendants.                       )
                                        )


                     JOINT STIPULATION OF DISMISSAL


      Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and

Defendants, by and through their respective counsel of record, acting with full and

complete authority, jointly stipulate that the claims asserted in Plaintiff’s

Complaint in this matter are dismissed, with prejudice, with each party to bear their

or its own costs, expenses, and fees.

      Respectfully submitted this the 14th day of January, 2019.

                                        /s/ Jeremy Knowles
                                        Jeremy Knowles
                                        Attorney for Plaintiff

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